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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In the Matter of the Search of:

The Twitter accounts @AhkTheB1acMrab              No. L4 M 547
located at ww.twitter.com/ahktheblackarab,
@AbuFarriss located at                            Magistrate Judge Maria Valdez
www.twitter.com/abufarriss, and
@abothabetk located at                            UNDER SEAL
www.twitter.com/abothabetk, further
described in Attachment A

                                           ORDER

           The UNITED STATES OF AMERICA by                   its   attorney, ZACHARY T.

   FARDON, United States Attorney for the Northern District of Illinois, having fiIed

   its Third Motion to Continue Seal on Search Warrant, Application, and Affidavit,

   and having demonstrated good cause        in support of its motion, specifically, that
   disclosure of the Search Warrant, Application, and Affidavit would jeopardize the

   investigation by: (a) providing the subject of the investigation an opportunity to

   destroy evidence or flee; and (o) disclosing the details of facts known to investigators,

   the identities of witnesses, and the investigative strategy;

           IT IS HEREBY ORDERED THAT the Search Warrant, Application, and
   Affidavit, and all related motions and orders to seal, be kept under seal for an

   additional 90 days, from June 11, 2015, until September 9, 2015, or until further

   Order of the Court.




           JUN112ol5
   Date:                                           United States Magistrate J
